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          IN THE UNITED STATES DISTRICT COURT RECEIVED
          FOR THE MIDDLE DISTRICT OF ALABAMA
                             DIVISION        1218 JUN 21 A       11
                                            DEBRA P. HACKETT. CLK
                                              U.S. DISTRICT COURT
ALDRIC L.BUCKNER,                            MIDDLE   DiSTRICT ALA

             Plaintiff,
                                              Case No.3:1 8- cv- 6 / 0
v.                                     )
                                       )      Jury Trial for Damages Demanded
BENJAMIN WHITLEY,in his                )
Official and Individual Capacities     )
                                       )
             Defendant.                )
                                       )


                                   COMPLAINT

                                INTRODUCTION

      This case is about how a single police officer, sworn to uphold the law and

protect the citizens of his jurisdiction, goes rogue and displays actions towards

persons that are so egregious, base and crass that it stains the noble profession oflaw

enforcement—and stains the collective name ofthe good citizens of Alabama. This

case demonstrates how a misguided few among our law enforcement ranks

consciously and unquestionably violate the constitutional rights of Alabamians,

fellow Americans and indeed, fellow human beings when the few believe either no

one is watching or, their victims have no power to defend themselves. The

Defendant in this matter has Clearly erred in believing that the power vested in him
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as a law enforcement officer trumps the rule of law. Pursuant to 42 U.S.0 § 1983,

the Plaintiff here seeks redress before this Court — to hold the Defendant

accountable for clearly misguided assumptions about the rule of law and, for the

flagrant violations ofPlaintiff's rights protected under the United States Constitution

and by Alabama common law.

                           JURISDICTION AND VENUE

   1. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1367.

   2. Venue is proper in this district under 28 U.S.C. § 1391(b) because the

      events giving rise to the claims asserted in this complaint occurred in

      this judicial district.

                                     PARTIES

   3. Plaintiff, Aldric L. Buckner, is over the age of 19 and a resident of the

      Middle District of Alabama. On August 14, 2017, he was searched and

      seized on multiple occasions by the defendant in this matter.

   4. Defendant, Benjamin "Bee Whitley, is over the age of 19 and a

      resident of the Middle District of Alabama. He is a police officer

      employed with the Alexander City, Alabama Police Department and is

      being sued in his official and individual capacity. Defendant Whitley is

      a proper party to this cause of action.

                            FACTUAL ALLEGATIONS


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5. Plaintiff realleges and incorporates by reference, paragraphs 1 through 4

   above.

6. On or about August 14, 2017, beginning at approximately 5 p.m., Mr. Aldric

   L. Buckner, while driving, was the subject of a traffic stop by Alexander City

   Police Department (ACPD), namely, an officer named Benjamin "Ben"

   Whitley.

7. Officer Whitley is known in Mr. Buckner's community as one who patrols

   Buckner's neighborhood frequently and, an officer who often subjects

   community members to random traffic stops.

8. On August 14, 2017, during the initial traffic stop of Mr. Buckner, Officer

   Whitley required Mr. Buckner and his co-occupant to exit Buckner's vehicle.

9. Officer Whitley explained to Buckner that the reason for his initial traffic stop

   was because he had "received a phone call" and had been informed that

   Buckner possessed "two 8-balls"(illegal drugs)in the car with him.

10. During this initial traffic stop of Mr. Buckner, Officer Whitley searched the

   body of both Buckner and his passenger and, with Buckner's permission,

   searched the vehicle he was driving. Mr. Buckner recalls that this traffic stop

   lasted between 15 and 20 minutes.




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11. After Buckner inforrned Whitley that the "phone call" Whitley received was

   not true and, after Whitley searched Buckner's car and found no drugs,

   Whitley informed Buckner and his passenger that they were free to leave.

12. After driving to the next stop sign, the passenger of Buckner's vehicle asked

   Buckner to let hirn out so that he would walk the rernaining short distance to

   his destination. Buckner honored his request.

13. Shortly thereafter, Buckner was subjected to a second traffic stop by Officer

   Whitley. Whitley approached Buckner's vehicle on this second stop and

   asked Buckner,"Where did the other guy gor Buckner told hirn,"You had

  to see hirn (Buckner's passenger) get out of the car just now."

14. After about 5 to 6 minutes passed during the second traffic stop, Officer

   Whitley allowed Buckner to leave and Whitley proceeded to get in his police

  vehicle. Buckner proceeded to drive to his aunt's horne.

15 Approximately 6 to 10 rninutes later and, simultaneous to Mr. Buckner

  arriving at his aunt's horne, Officer Whitley drove up rapidly and with his

  police vehicle, blocked Mr. Buckner's vehicle in his aunt's driveway.

  Whitley detained Mr. Buckner for a third tirne in the driveway of his aunt's

  horne.

16. Whitley placed Mr. Buckner in handcuffs and dernanded that Mr. Buckner

  stand near his [Buckner's] vehicle. Buckner asked Officer Whitley why he


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   was being detained for a third time and if he was under arrest. Officer Whitley

   told Buckner he was "not under arrest."

17. Officer Whitley explained to Buckner he was detaining him for a third time

   because "someone told me that you (Buckner) had two 8-balls hidden under

   your nuts," meaning under Buckner's genital parts.

18. Officer Whitley did not arrest Mr. Buckner nor, did Whitley transport Mr.

   Buckner to the ACPD police station.

19. Instead, during the third stop of Mr. Buckner in front of his aunt's home,

   Officer Whitley told Buckner,"Either you can pull your pants and underwear

   down and get those two 8-balls from under your nuts, or I am going to do it

   and you are not going to like it."

20. Buckner's aunt, who witnessed the entire threat from Officer Whitley,

   objected strenuously to Whitley's tactics.

21 Officer Whitley ordered Buckner's aunt to go inside her horne and "look to

   see if she could fine any illegal drugs.

22. Buckner's aunt inforrned Officer Whitley that there were no illegal drugs in

   her home and she refused Whitley's demand to go inside, fearing leaving Mr.

   Buckner on her property with Officer Whitley without her oversight of the

   unfolding events.




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23. Mr. Buckner vehemently expressed to Officer Whitley that he did not have

   any illegal drugs on his person and, numerous times, told Whitley that he did

   not want to pull his pants and underwear down,exposing his genitalia because,

   "I don't have any drugs on me and there are several neighbors standing outside

   watchine as Whitley made his demands.

24. Again, Whitley said to Buckner,"Either you do it (take his pants down and

   expose his genitalia for a search) or I will do it." Buckner feared Whitley

   would use physical force and was extremely afraid. Buckner believed he had

   no choice but to comply with Whitley's orders. Thus, while in handcuffs, he

   followed Officer's Whitley's orders and attempted to take down his pants.

25. Defendant Whitley placed plastic gloves on his hands prior to Mr. Buckner's

   attempt to partially disrobe.

26. With physical assistance from Officer Whitley, Buckner was able to get his

   pants and underwear down while in handcuffs and, Whitley proceeded to

   shake Buckner's underwear and search around Buckner's penis and testicles

   with his gloved hands.

27. Officer Whitley ordered Buckner to bend over and spread his buttocks as

   Whitley shined a flashlight onto Buckner's anal area. Fearing physical force,

   Buckner attempted to comply with Whitley's orders.




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28. Officer Whitley used one gloved hand to spread the buttocks of Mr. Buckner

   while he shined his flashlight between his buttocks. During this physical strip-

   search of Mr. Buckner, Officer Whitley stated,"This is disgusting."

29. Officer Whitley s strip-search of Mr. Buckner occurred in front of at least

   fifteen (15) people in the community. Buckner heard many of these people

   laughing at him, while others yelled in anger, protest and frustration that

   Whitley required Buckner to expose his genitals, buttocks and anus during the

   body search.

30. Mr. Buckner was humiliated, ashamed and embarrassed when Officer

   Whitley ordered him to expose his genitalia and to bend over and expose his

   anus in front ofcommunity members. The emotional distress suffered by Mr.

   Buckner because of the strip-search was severe.

31. Ultimately, Officer Whitley found no illegal drugs on the person of Mr.

   Buckner at any time on August 14, 2017.

32. After the strip-search, Defendant Whitley ordered Mr. Buckner to pull his

   pants and underwear back up. Mr. Buckner stated to Whitley, "I can't pull

   my clothes back up because I am handcuffed!"

33. Defendant Whitley assisted Mr. Buckner in pulling his underwear and pants

   up, re-covering his exposed genitalia and buttocks.




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34. After failing to find any illegal drugs on Mr. Buckner's person pursuant to

   multiple searches including the strip search, Officer Whitley stated to Mr.

   Buckner,"I apologize for doing what I just did. If you will just let this go, I

   will never bother you again. You don't ever have to wony about me stopping

   you ever again. Whenever I see you, I will just waive and keep going."

35. Mr. Buckner estimates that the third stop and strip-search conducted by

   Defendant Whitley lasted approximately 15-20 minutes. Mr. Buckner avers

   that, because ofthe humiliating search during the third stop, it felt like he was

   being searched for hours.

36. Mr. Buckner contends that not only was he assaulted by Defendant Whitley

   during the third detainment at his aunt's home,but due to the graphic exposure

   of his genitalia and buttocks and, the offensive touching of his buttocks, he

   was sexually assaulted or, at minimum, sexually harassed by Defendant

   Whitley.

37. The emotional distress Mr. Buckner suffered on August 14, 2017 is ongoing

   and traumatic. Since August 14, 2017, Mr. Buckner has limited his travel

   about his community to that only which is necessary.

38. The natural and probable result of Defendant Whitley's August 14,2017 acts

   inflicted upon Mr. Buckner is, Mr. Buckner feels terror upon thoughts of




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   interaction with the police, Defendant Whitley and the prospect ofbeing strip-

   searched upon any future encounters with law enforcement.

39. On or about August 16, 2017, Mr. Buckner filed a formal complaint with

   ACPD, describing Officer Whitley's actions which occurred on August 14,

   2017 To date, Mr. Buckner has received no formal response from ACPD.

40. On or about August 17, 2017, counsel for Mr. Buckner notified ACPD Chief

   of Police, Jay Turner, the City of Alexander City, Alabama Mayor, James

   Nabors and the Alexander City Attorney, Larkin Radney about the August 14,

   2017 Whitley/Buckner incidents. Counsel informed these parties ofimminent

   litigation absent remedy through administrative means. To date, Mr. Buckner

   nor counsel for Mr.Buckner have received responses from the notified parties.

                             COUNT I
Violation of Mr.Buckner's Fourth Amendment Rights(42 U.S.C.§ 1983)
  (Against Defendant Whitley in his Official and Individual Capacity)

41. The plaintiff re-alleges the allegations contained in paragraphs numbered 1

   through 40 and incorporates the same herein by reference, and further alleges

   as follows:

42. A "seizure that is lawful at its inception can violate the Fourth Arnendment if

   its manner of execution unreasonably infririges interests protected by the

   Constitution." Illinois v. Caballes, 543 U.S. 405, 407, 125 S. Ct. 834, 837

  (2005); see also United States v. Place, 462 U.S. 696, 707-08, 103 S. Ct.


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   2637, 2645(1983)("[T]he manner in which the seizure was conducted is, of

   course, as vital a part of the inquiry as whether it was warranted at all."

   (quotation omitted and alterations adopted)).

43. The Fourth Amendment of the United States Constitution protects Mr.

   Buckner against unreasonable searches of his person and unlawful seizures of

   his person which infringe upon his bodily integrity. U.S. Const. Amend. IV.

   The Fourth Amendment is applicable to Alabama via the Fourteenth

   Arnendment. U.S. Const. Amend XIV.

44. The second and third searches of Mr. Buckner by Officer Whitley on August

   14, 2017 were in violation of the Fourth and Fourteenth Amendments of the

   Constitution.

45. Officer Whitley, during the second search ofMr. Buckner violated his Fourth

   Amendment right to be free from illegal searches, as Whitley has no cause,

   probable or other, to conduct a second traffic stop and detain Mr. Buckner on

   August 14, 2017.

46. Officer Whitley, during the third detention and strip search of Mr. Buckner

   violated Buckner's Fourth Amendment rights to be free from unwarranted

   detention and infringement of Mr. Buckner's bodily integrity.

47. "[O]fficers violate the Fourth Amendment when they force an arrestee to

   expose herself "longer than necessary to protect their safetr or effectuate


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   some other legitimate purpose." Los Angeles Cty. v. Rettele, 550 U.S. 609,

   615(2007)(per curiam).

48. Defendant Whitley had no legitimate purpose for detaining Mr. Buckner on

   the second and third time he seized Buckner. Defendant Whitley had no

   cause, whatsoever for strip-searching, assaulting and battering Mr. Buckner.

49. Defendant Whitley was never in fear of his safety while in the presence of

   Mr. Buckner at any time on August 14, 2017.

50. Assuming arguendo that on August 14, 2017, Defendant Whitley had

   probable cause to suspect Mr. Buckner had illegal drugs in his possession, he

   could and should have arrested and transported Buckner to law enforcement

   facilities where a proper, humane and legal search attendant to the probable

   cause could have been conducted in private.

51. Officer Whitley violated clearly established law by detaining,strip-searching,

   and battering Mr. Buckner on August 14, 2017.

52. Rettele gave Whitley fair warning that he could not force Mr. Buckner to

   expose his intimate body parts "longer than necessary to protect [his] safety."

   550 U.S. at 615, 127 S. Ct. at 1993. This is exactly what Whitley did to Mr.

   Buckner. In light of Rettele's statement that involuntary exposure becomes

   unreasonable "once the police [are] satisfied that no immediate threat [ ]

   presented," id., a reasonable officer in the Whitley's position would have


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   known that forcing Mr. Buckner to expose his penis, testicles, buttocks and

   anus in the open public while assaulting and battering Buckner about the

   buttocks, when it was entirely unnecessary to protect the Whitley's safety,

   violated the Fourth Amendment.

                              Count II
                Assault and Battery(42 U.S.C.§ 1983)
      State Law Claim (Against Defendant Whitley,Individually)

53. The plaintiff re-alleges the allegations contained in paragraphs numbered 1

   through 52 and incorporates the same herein by reference, and further alleges

   as follows:

54. The intentional torts of assault and battery are well settled in Alabama

  jurisprudence. "Assault" has been defined as "an intentional, unlawful, offer

   to touch the person of another in a rude or angry manner under such

   circumstances as to create in the mind of the party alleging the assault a well-

  founded fear ofan imminent battery, coupled with the apparent present ability

   to effectuate the attempt,if not prevented." Western Union Tel. Co. v. Hill, 25

   Ala.App. 540, 542, 150 So. 709, 710 (1933) (emphasis added). See also

   Wright v. Wright,654 So. 2d 542,544(Ala.1995).

55. Defendant Whitley's strip-search and physical manipulation of Mr.

  Buckner's buttocks clearly constitute assault.




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56. Defendant Whitley touched Mr. Buckner; Defendant Whitley intended to

   touch Mr. Buckner; and, Defendant Whitley conducted his touching in a

   harmful and offensive manner.

57. The Alabama Supreme Court has explained that "[a] battery consists in an

   injury actually done to the person of another in an angry or revengeful or rude

   or insolent manner ... or in any way touching him in anger, or violently

   jostling him out of the way, or in doing any intentional violence to the person

   ofanother." Surrency v. Harbison,489 So.2d 1097, 1104(Ala.1986)(quoting

   Singer Mach. Co. v. Methvin, 184 Ala. 554, 561, 63 So. 997, 1000 (1913)

  (emphasis added)).

58. In a civil case, the elements of battery are:(1)that the defendant touched the

   plaintiff;(2)that the defendant intended to touch the plaintiff; and(3)that the

   touching was conducted in a harmful or offensive manner. Ex parte Atmore

   Cmty. Hosp., 719 So. 2d 1190(Ala. 1998)(emphasis added).

59. Defendant Whitley's strip-search and manipulation of Mr. Buckner's

   buttocks during the search was, at minimum,rude and insolent. Mr. Buckner

   avers that Defendant Whitley was angry and threatening just before he

   conducted the humiliating strip-search.

                             Count III
                     Outrage(42 U.S.C.§ 1983)
      State Law Claim (Against Defendant Whitley,Individually)


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60.The plaintiff re-alleges the allegations contained in paragraphs numbered 1

   through 59 and incorporates the same herein by reference, and further alleges

   as follows:

61. The acts of Officer Whitley inflicted upon Mr. Buckner, detailed supra, were

   "(1) intentional or reckless; (2) extreme and outrageous; and (3) caused

   emotional distress so severe that no reasonable person could be expected to

   endure it." S.B. v. Saint James School,959 So.2d 72,93(Ala. 2006)(citations

   omitted);see also Little v. Robinson,72 So.3d 1168, 1172(Ala.2011)(same).

62. Defendant Whitley's strip-search, along with the exposure ofand assault and

   battery upon Mr. Buckner's most private body parts were intentional acts.

63. Defendant Whitley's multiple references to Mr. Buckner's genitalia and the

   placement of gloves on his hands prior to the strip-search, coupled with the

   warning to Mr. Buckner that, "he would not like the strip search after

   Buckner exposed his genitalia demonstrates Whitley's conscious intent to

   sexually assault Mr. Buckner by way of exposing and offensively touching

   Buckner's private body parts.

64. Defendant Whitley's tactics during the strip-search of Mr. Buckner were

   wholly unnecessary, as Whitley was not in fear of his safety thus, Whitley's

   actions were clearly extreme. Because there were alternatives to the strip-

   search of Mr. Buckner (e.g. arresting and transporting Buckner to jail and


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       conducting a private search upon probable cause), Whitley's actions in

       ordering Buckner to expose himself and physically assaulting and battering

       Buckner in public view were outrageous.

   65. No reasonable persons in Alabama or the United States of America, while

       posing no threat.to officer safety, could be expected to endure a strip-search,

       assault and battery in the open public.

   66. Officer Whitley's August 14,2017"conduct[was]so outrageous in character

       and so extreme in degree as to go beyond all possible bounds of decency,

       [w]as atrocious and utterly intolerable in a civilized society." S.B., 959 So.2d

       at 93 (citations ornitted). And the Eleventh Circuit has made clear, "In a

       civilized society, one's anatomy is draped with constitutional protections."

       United States v. Afanador, 567 F.2d 1325, 1331 (5th Cir. 1978).1

   67. Mr. Buckner has experienced and continues to experience ongoing emotional

       distress due to the outrageous actions of Officer Whitley including, but not

       limited to, the strip-search, assault and battery of Mr. Buckner's person.

                                  Lack of Legal Remedy

   68. Plaintiffs reallege the facts set forth in paragraphs 1-67 above.

   69. Plaintiff has suffered and suffers ongoing harm, which cannot be



        1 In Bonner v. City ofPrichard, 661 F.2d 1206 (11th Cir. 1981)(en banc), the Eleventh
Circuit adopted as binding precedent all decisions ofthe former Fifth Circuit handed down before
October 1, 1981.Id. at 1209.
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   alleviated except by relief from this Court.

70.The harm suffered by Plaintiff included Defendant Whitley's multiple

   unlawful traffic stops and detainment of Mr. Buckner, along with the

   attendant humiliating and physical strip-search, public exposure of

   Buckner's naked body and battery and assault of his body.

71. The ongoing harm suffered by Plaintiffs includes humiliation, shame, and

   embarrassment when facing members of his community and the immense

   fear ofbeing stopped and strip-searched by law enforcement when venturing

   out in public.

72. Findings of constitutional and Alabama common law violations, coupled

   with compensatory and punitive damages awarded by this court or a jury are

   the only means to remedy the violations complained of herein.

73. No other relief is available at law.

WHEREFORE,Plaintiffs request that this Court:

   a Issue a judgment pursuant to 42 U.S.C. § 1983 in favor of the Plaintiff,
     finding that Defendant Whitley, in his official and individual capacities,
     violated the Fourth and Fourteenth Amendment rights of the Plaintiff.

   h Issue a judgment 28 U.S.C. § 1367 in favor of the Plaintiff, finding that
     Defendant Whitley, in his individual capacity, committed the Alabama
     common law torts of outrage, assault and battery upon the Plaintiff.

   c. Set a bench or jury trial for the determination of factual matters as the
      Court deems appropriate.



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   d. Award the Plaintiff compensatory damages in the amount of
      $500,000.00 for Defendant Whitley's violation of Plaintiffs Fourth
      Amendment rights.

  e Set a jury trial for a determination of the award of damages attendant to
    Plaintiff's outrage, assault and battery claims.

  f Order any further relief for the Plaintiff and against the Defendant as the
    Court deems appropriate.

     Respectfully submitted this 27th day of June, 2018.



                                         Josep Mitchell McGuire
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                                                             '




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                         CERTIFICATE OF SERVICE


      On June 27, 2018, I filed the Complaint in the above styled cause over the

counter with the Clerk of the Court and delivered the same to the following party at

his place ofemployment:

Officer Benjamin Whitley
Alexander City Police Department
One Court Square
Alexander City, Alabama 35010




                                               Joseph Mitchell McGuire




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                                       VERIFICATION

        Before me, the undersigned notary, on this day personally appeared Aldric Buckner, the

affiant, a person whose identity is known to me. After I administered an oath to affiant, affiant

testified:

       "My name is Aldric Buckner. I have read the Complaint. The facts stated in it with regard

to the content therein are within my personal knowledge and are true and correct."




                                                                   Aldric Buckner




SWORN TO and SUBSCRIBED before me by Aldric Buckner on d             Un               201W




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                                                                  the State of


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